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 8
 9
10                             UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12
13   THRIVE NATURAL CARE, INC.                   Case No. 2:20-cv-9091-PA-AS
14               Plaintiff,                      TRIAL DECLARATION OF
15                                               EXPERT WITNESS DR. ITAMAR
           v.                                    SIMONSON
16   THRIVE CAUSEMETICS, INC.,                   Trial Date:   November 9, 2021
17                                               Time:         9:00 a.m.
                 Defendant.                      Place:        Courtroom 9A
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 1                TRIAL DECLARATION OF DR. ITAMAR SIMONSON
 2         I, Dr. Itamar Simonson, declare and state as follows:
 3         1.     I am an expert witness designated by Thrive Causemetics, Inc.
 4   (“Defendant” or “Thrive Causemetics”), the Defendant in the above-captioned action.
 5   This declaration sets forth my direct trial testimony in support of Thrive Causemetics’
 6   case-in-chief. I have personal knowledge of the facts stated in this declaration and I
 7   would and could testify as to them if called as a witness in this action.
 8         2.     I served as the Sebastian S. Kresge Professor of Marketing at the
 9   Graduate School of Business, Stanford University, from 1993 through 2020. Since
10   the beginning of 2021, I have served as the Sebastian S. Kresge Emeritus Professor of
11   Marketing (while continuing to teach and advise doctoral students at the Stanford
12   Business School). I hold a Ph.D. in Marketing from the Duke University Fuqua
13   School of Business, a Master’s degree in Business Administration (MBA) from the
14   UCLA Graduate School of Management, and a Bachelor’s degree with majors in
15   Economics and Political Science from The Hebrew University. A copy of my
16   curriculum vitae is attached hereto as Exhibit A.
17         3.     My field of expertise is consumer behavior, marketing management, the
18   role of price, brand, and product features as they relate to consumer behavior, research
19   methods, the design and analysis of consumer surveys and common survey mistakes,
20   and human judgment and decision-making. Most of my research has focused on
21   consumers’ purchasing behavior, and the effects of product characteristics (such as
22   brand name, price, and features), the competitive context, and marketing activities
23   (such as promotions and advertising) on buying decisions.
24         4.     I have published numerous articles in my career, which are listed in my
25   curriculum vitae (Exhibit A), which deal with consumer decision-making, the role of
26   brands, likelihood of confusion from the consumer’s perspective, and many other
27   topics. Among those are academic articles relating to methodological aspects of
28   likelihood of confusion surveys. For example, one article examined “The Effect of

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 1   Survey Method on Likelihood of Confusion Estimates: Conceptual Analysis and
 2   Empirical Test.”1 Although this article, which tested alternative methods across a
 3   dozen different pairs of marks, was not designed to estimate marketplace confusion
 4   (e.g., the respondents did not represent any particular universe, and the survey did not
 5   include controls), it provided insights into various old and new methods. 2 I also co-
 6   authored a chapter on “Demand Effects in Likelihood of Confusion Surveys,” in the
 7   ABA-published book entitled Trademark and Deceptive Advertising Surveys.3
 8         5.     I have received various awards, including (a) the 2007 Society for
 9   Consumer Psychology Distinguished Scientific Achievement Award; (b) an Honorary
10   Doctorate from the University of Paris – Sorbonne Universities; (c) the award for the
11   Best Article published in the Journal of Consumer Research (the major journal on
12   consumer behavior) between 1987 and 1989; (d) the 1997 O’Dell Award, given for
13   the Journal of Marketing Research (the major journal on marketing research issues)
14   article that has had the greatest impact on the marketing field in the previous five
15   years; (e) the 2001 O’Dell award (and a finalist for the O’Dell Award in 1995, 2002,
16   2004, 2005, 2007, 2008, and 2012); (f) the award for the Best Article published in the
17   Journal of Public Policy & Marketing (the main journal on public policy and legal
18   aspects of marketing) between 1993 and 1995; (g) the Ferber Award from the
19   Association for Consumer Research, the largest association of consumer researchers
20   in the world; (h) Elected Fellow of the Association for Consumer Research; (i) the
21   2016 American Marketing Association Award for the Best Book in Marketing; (j) the
22   2002 American Marketing Association award for the Best Article in the area of
23
     1
       Itamar Simonson (1993), “The Effect of Survey Method on Likelihood of Confusion
24   Estimates: Conceptual Analysis and Empirical Test,” Trademark Reporter, 83 (3),
     364-39; see also Itamar Simonson (1994), "Trademark Infringement from the Buyer
25   Perspective: Conceptual Analysis and Measurement Implications," Journal of Public
     Policy and Marketing, 13(2), 181-199.
26   2
       For example, in that survey, the estimates derived using the “Eveready” method
     were, on average, 10% higher than most other survey methods.
27   3
       Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of
     Confusion Surveys,” Trademark and Deceptive Advertising Surveys, Chapter 11,
28   Shari Diamond and Jerre Swann, Eds., American Bar Association.
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 1   services marketing; and (k) the 2016 Association for Consumer Research Conference
 2   Best Paper Award.
 3           6.    My co-authored book that received the Best Book in Marketing Award is
 4   titled: “Absolute Value: What Really Influences Customers in the Age of (Nearly)
 5   Perfect Information.” Its primary focus is on the role of brands and consumer
 6   decision-making in the age of the Internet. The book generated a great deal of
 7   discussion among experts and other authorities regarding the impact of brands in
 8   today’s information environment.4
 9           7.    At Stanford University, I have taught MBA and executive courses on
10   Marketing Management, covering such topics as brand management and brand equity,
11   buyer behavior, developing marketing strategies, pricing, building brand equity,
12   advertising, sales promotions, and retailing. I have also taught courses dealing with
13   the Marketing of High Technology Products, Business-to-Business Marketing,
14   Behavioral Economics, and Critical-Analytical Thinking. Over the past several years,
15   I have also taught an MBA course regarding “Applied Behavioral Economics,” which
16   examines the judgment and decision-making behavior and common errors/tendencies
17   of managers, organizations, and consumers. In addition to teaching MBA courses, I
18   have guided and supervised numerous MBA student teams in their work on company
19   and industry projects dealing with a variety of markets.
20           8.    All doctoral courses that I have taught over the past 33 years have
21   involved educating students regarding proper and improper ways to conduct and
22   evaluate consumer and managerial decision-making studies. For example, in addition
23   to general principles of decision-making, the courses examine the various stages
24   involved in a consumer survey, including defining the problem to be investigated,
25   selecting and developing the research approach, collecting and analyzing data, and
26   deriving conclusions. In each class meeting, we carefully investigate the key errors (if
27   any) in the research we discuss, and I teach the doctoral students what key aspects
28   4
         See, e.g., https://www.newyorker.com/magazine/2014/02/17/twilight-brands.
                                                -4-
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 1   they should focus on when designing and evaluating studies. One doctoral course I
 2   have taught over the past 25 years has focused on studies of psychological and
 3   behavioral aspects of consumer decision-making and judgment and decision-making
 4   more generally. Prior to joining Stanford University, during the six years that I was
 5   on the faculty of the University of California at Berkeley (1987-93), I taught an MBA
 6   Marketing Management course, a Ph.D. course on buyer behavior, and a Ph.D. course
 7   on buyer decision-making. I also taught in various executive-education programs,
 8   including a program for marketing managers in high-technology companies.
 9         9.     After completing my MBA studies and before starting my Ph.D.
10   program, I worked for five years in a marketing capacity in a subsidiary of Motorola
11   Inc., serving in the last two years as the product-marketing manager for various
12   communications products. My work included (a) defining new products and
13   designing marketing plans for new product introductions, (b) customer and competitor
14   surveys and analysis, (c) pricing and advertising, and (d) sales forecasting.
15         10.    I have conducted, supervised, or evaluated well over 2,000 marketing
16   research studies dealing with various aspects of consumer behavior, covering topics
17   such as branding, pricing, product configurations, marketing strategies, and
18   advertising-related issues. Based on this experience, as well as my education,
19   teaching, participation in consumer-research conferences, and numerous projects with
20   companies and students, I have developed expertise in how to design consumer
21   surveys, how to conduct consumer surveys, problems and pitfalls that are common in
22   consumer surveys, how to analyze the data from consumer surveys, and what the
23   results of consumer surveys can—and cannot—show.
24         11.    I serve on many journal editorial boards, such as the Journal of Consumer
25   Research, the Journal of Marketing Research, the Journal of the Academy of
26   Marketing Science, and the Journal of Consumer Psychology. I also frequently
27   review articles submitted to journals in other fields, such as psychology, decision-
28   making, and economics. Almost all the articles I review include surveys that I

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 1   carefully examine, often identifying issues that need to be addressed and suggesting to
 2   the authors how to conduct new studies. I received (twice) the Outstanding Reviewer
 3   Award from the Journal of Consumer Research. As a reviewer, I am asked to evaluate
 4   the research of scholars wishing to publish their articles in leading scholarly journals.
 5   In addition, I have worked as a consultant for companies and organizations on a
 6   variety of marketing and buyer behavior topics, the design of consumer surveys, and
 7   the measurement of consumer preferences.
 8         12.    I have also served as an expert in well over 200 prior lawsuits involving
 9   various marketing and buyer behavior issues (including consumer surveys),
10   technology marketing, the impact of product features, class actions, trademark-related
11   matters, false advertising, branding, survey methods, and other issues. My surveys
12   and expert opinions have been relied upon by various courts.1 A list of cases in which
13
     1
       See, e.g., Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 626 n.210
14   (S.D.N.Y. 2007) (noting that Dr. “Simonson is eminently qualified to analyze survey
     techniques”);; TCL Commc’n Tech. Holdings, Ltd. v. Telefonaktiebolaget LM
15   Ericsson, No. 15-cv-2370, 2017 WL 6611635, at *29 (C.D. Cal. Dec. 21, 2017) (“Dr.
     Simonson is exceptionally well credentialed in survey work.”); VIP Prods., Inc. v.
16   Jack Daniel’s Props., Inc., No. 14-cv-2057, 291 F. Supp. 3d 891, 902 (D. Ariz. 2018)
     (“Dr. Simonson has served as an expert witness on numerous occasions, providing
17   testimony on issues related to marketing, consumer behavior, trademark-related
     matters, false advertising, and branding.”); Gucci Am., Inc. v. Guess?, Inc., 831 F.
18   Supp. 2d 723, 745 (S.D.N.Y. 2011) (agreeing with Dr. Simonson’s survey analysis);
     THOIP v. Walt Disney Co., 690 F. Supp. 2d 218, 232–42 (S.D.N.Y. 2010) (relying on
19   Dr. Simonson’s opinions to exclude opposing expert’s survey); Simon Prop. Grp. L.P.
     v. mySimon, Inc., 104 F. Supp. 2d 1033, 1043–44, 1048, 1050 (S.D. Ind. 2000)
20   (repeatedly citing Dr. Simonson’s expert report as support for excluding opposing
     expert’s survey); Sazerac Co. v. Fetzer Vineyards, Inc., 265 F. Supp. 3d 1013, 1016
21   (N.D. Cal. 2017) (relying on Dr. Simonson’s survey: “Fetzer’s expert’s analysis using
     a modified Eveready survey was far superior to the two room survey employed by
22   Sazerac’s expert”); Kargo Glob., Inc. v. Advance Magazine Publishers, Inc., No. 06
     Cv. 550(JFK), 2007 WL 2258688, at *9–10, 15–16 (S.D.N.Y. Aug. 6, 2007)
23   (embracing Dr. Simonson’s report as stating “unassailable commonsense” and
     denying motion to exclude his testimony); Schechner. v. Whirlpool Corp., No. 2:16-
24   cv-12409, 2018 U.S. Dist. LEXIS 221847, at *27 (E.D. Mich. Oct. 30, 2018)
     (“Simonson’s credentials are impressive, and his qualifications related to consumer
25   research cannot be reasonably challenged.”); Gutierrez v. Wells Fargo Bank, N.A., No.
     C-07-05923-WHA, Dkt. No. 477 at 51 (N.D. Cal. Aug. 10, 2010) (“This remarkably
26   candid opinion was echoed throughout Expert Simonson’s direct testimony”); In June
     2021, a Court opined as follows about a survey that I presented at trial: “The Court
27   finds that the survey performed by Dr. Simonson was exemplary and a model of how
     litigation surveys should be conducted. The Court, accordingly, affords the survey’s
28   results and conclusions based thereon a high degree of credibility and weight.”
                                                -6-
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 1   I testified as an expert during the past four years is included as Exhibit B to the expert
 2   report that I prepared in this case.
 3             13.   I was asked by counsel for Thrive Causemetics to (a) evaluate the report,
 4   including the surveys, submitted by Mr. Rob Wallace (“Wallace Report”) on behalf of
 5   Plaintiff Thrive Natural Care, Inc. (“Plaintiff” or “Thrive Natural Care”), and (b)
 6   conduct a proper likelihood of confusion survey that follows basic likelihood of
 7   confusion survey principles. The documents that I considered in connection with my
 8   work in this matter are listed in Exhibit C to the report I prepared in this case.
 9             14.   The overall opinions that I reached in this matter are as follows:
10                   a.    The surveys conducted by Plaintiff’s expert Mr. Wallace (the
11   “Wallace Surveys”) are neither reliable nor relevant with respect to the issue of
12   likelihood of confusion.
13                   b.    Mr. Wallace’s opinions concerning the ultimate issue of likelihood
14   of confusion and various Sleekcraft factors are neither reliable nor scientific.
15                   c.    A properly designed survey demonstrates that there is no
16   meaningful confusion regarding the source, affiliation, or approval of Plaintiff’s
17   products.
18             15.   This declaration will cover each opinion and its bases in turn and in
19   detail.
20             16.   My first opinion is that the Wallace Surveys are neither reliable nor
21   relevant with respect to the issue of likelihood of confusion.
22             17.   The Wallace Surveys failed to use the proper survey methodology –
23   namely, an “Eveready” survey, from the case Union Carbide Corp. v. Ever-Ready,
24   Inc., 531 F.2d 366 (7th Cir. 1976) – given the marketplace reality at issue in which
25   consumers rarely encounter the parties’ respective products for purchase together.
26   Instead, the Wallace Surveys relied on a variant of the survey methodology from
27
     (People of the State of California v. Macy’s Inc.; Statement of Decision; Superior
28   Court of CA, County of Los Angeles; Case No. BC643040).
                                                   -7-
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 1   SquirtCo. v. Seven-Up Co., 628 F.2d 1086 (8th Cir. 1980), which is biased and leading
 2   given the marketplace conditions in this case. Not surprisingly, courts have criticized
 3   and excluded many surveys that have used even much less flawed variants of the
 4   method employed by Mr. Wallace here (a few examples of such court decisions are
 5   described, for example, in my ABA-published chapter on “demand effects” in
 6   likelihood of confusion surveys 5).
 7         18.    As Professor McCarthy points out, “the closer the survey methods mirror
 8   the situation in which the ordinary person would encounter the trademark, the greater
 9   the evidentiary weight of the survey results.” 6 Indeed, courts have given little or no
10   weight to (or excluded) likelihood of confusion surveys that failed to capture essential
11   characteristics of the marketplace, such as showing two marks side-by-side or
12   sequentially even though the products are rarely (if ever) available for purchase side-
13   by-side (i.e., on store shelves or on the same website). 7
14         19.    In its First Amended Complaint (ECF No. 28 ¶ 4), Plaintiff alleges: 8
15                “TCI’s multi-million dollar per year growth has enabled it to
16                flood the market with advertising for its own skincare
                  products such that consumers have now come to believe that
17                plaintiff Thrive is related to or affiliated with defendant TCI
18                and that Thrive’s goods originate from TCI. TCI’s actions
                  have created consumer and retailer confusion.”
19
20   This statement suggests that Plaintiff primarily alleges so-called likelihood of “reverse
21   confusion.” That is, it is alleged that Thrive Causemetics “flooded the market with
22
23   5
       Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of
     Confusion Surveys,” Trademark and Deceptive Advertising Surveys, Chapter 11,
24   Shari   Diamond and Jerre Swann, Eds., American Bar Association.
     6
        4 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition
25   (September    2007) (McCarthy) at §32:163.
     7
       See, e.g., THOIP v. Walt Disney Co., 690 F. Supp. 2d 218 (S.D.N.Y. 2010). See also
26   Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of
     Confusion Surveys,” Trademark and Deceptive Advertising Surveys, Chapter 11,
27   Shari   Diamond and Jerre Swann, Eds., American Bar Association.
     8
       TCI is the abbreviation used in the First Amended Complaint for Thrive
28   Causemetics, Inc.
                                                 -8-
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 1   advertising,” leading to the allegation that consumers have come to believe that the
 2   Plaintiff is related to Thrive Causemetics, which is clearly an allegation of reverse
 3   confusion (i.e., it does not pertain to “forward confusion” whereby consumers
 4   mistakenly believe that the Plaintiff is Thrive Causemetics’ source). Furthermore, in
 5   paragraph 36 of his report, Mr. Wallace defined his survey universe based on previous
 6   purchases of “skin care products,” which is consistent with a universe for a reverse
 7   confusion survey (i.e., prospective customers of Plaintiff; consumers who purchased
 8   cosmetics products such as make-up but not skincare products were not qualified for
 9   survey participation). It is well-established that “in cases alleging reverse confusion
10   (i.e., that consumers would likely believe that the senior user’s products or services
11   are made or sponsored by the junior user), the relevant universe is the senior user’s
12   potential customers.” 9
13         20.    Likelihood of confusion survey methods can be divided into two primary
14   types. One type involves surveys in which respondents are shown a webpage or a
15   product that displays the plaintiff’s mark and asked to identify the company that offers
16   (or makes/puts out) the products. As discussed in my articles, the most common
17   method in this category is referred to as the Eveready format,10 named after a case in
18   which the issue involved source confusion between Ever-Ready lamps and Eveready
19   batteries. Professor McCarthy describes the sequence of questions as follows: 11
20                “1.    [Screening question to eliminate persons in the bulb
21                       or lamp industries.]
22                2.     Who do you think puts out the lamp shown here? (A
23                       picture of defendant's EVER-READY lamp with its
                         mark is shown).
24
25
     9
       William Barber (2012), “The Universe,” in Trademark and False Advertising
26   Surveys (Shari Diamond & Jerre Swann eds., 2012); pages 28-31.
     10
        Union Carbide Corp. v. Ever-Ready, Inc., 531 F.2d 366, 188 U.S.P.Q. 623 (7th Cir.
27   1976), cert. denied, 429 U.S. 830, 50 L. Ed. 2d 94, 97 S. Ct. 91, 191 U.S.P.Q. 416
     (1976).
28   11
        McCarthy at §32:174.
                                                -9-
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 1                3.    What makes you think so?
 2
                  4.    Please name any other products put out by the same
 3                      concern which puts out the lamp shown here.” 12
 4
     As indicated, the Eveready survey format is the standard approach when the two
 5
     products at issue are not encountered together or one after the other for purchase in the
 6
     great majority of real-world situations. A survey involving side-by-side or sequential
 7
     presentation of the two marks at issue (alongside other marks that are likely to be seen
 8
     at the same time) may be appropriate only if the marks at issue are often encountered
 9
     together for purchase by prospective consumers. Indeed, courts have harshly
10
     criticized and even excluded surveys in which marks were shown side-by-side or
11
     sequentially if that presentation failed to approximate what is likely to occur under the
12
     great majority of marketplace conditions.13
13
           21.    As described in paragraphs 31 and 32 of Mr. Wallace’s report, Mr.
14
     Wallace relied on the other type of survey, employing a variation of the so-called
15
     Squirt survey, from SquirtCo. v. Seven-Up Co., 628 F.2d 1086 (8th Cir. 1980), in
16
     which both parties’ products are shown to respondents side-by-side or in sequence.
17
           22.    In the Wallace Surveys, respondents were shown a lineup consisting of
18
     one of Plaintiff’s products, one of Thrive Causemetics’ products, and two other
19
     products with completely dissimilar names (“WLDKAT” and “Ursa Major”).
20
     Respondents were then sequentially shown pairs of products, including the Plaintiff’s
21
     and Defendant’s products, and asked if they come from the same company (and
22
     similar questions); the first such question was the following:
23
24
25   12
        In many applications, the Eveready format also includes questions as to whether
     the company that puts out the presented mark has a business connection or affiliation
26   with or received permission from another company.
     13
        See, e.g., Simon Property Group L.P. v. MySimon, Inc., 104 F. Supp. 2d 1033 (S.D.
27   Ind. 2000); Kargo Global, Inc. v. Advance Magazine Publrs., Inc., 2007 U.S. Dist.
     LEXIS 57320 (S.D.N.Y. Aug. 6, 2007); THOIP v. Walt Disney Co., 690 F. Supp. 2d
28   218 (S.D.N.Y. 2010).
                                               -10-
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 1                Do you believe that these two products come from the same
 2                company/manufacturer/source?

 3                •      Yes, same company/manufacturer/source?
 4                •      No, different companies/manufacturers/sources?
 5
                  •      Not sure/ don't know
 6
 7         23.    Survey respondents who failed to provide the expected “Yes” answers
 8   were next given another opportunity:
 9                If you said different companies, do you believe that these
10                companies are affiliated, connected, or associated with each
                  other?
11
                  •      Yes, companies are affiliated, connected or associated
12
13                •      No, companies are not affiliated, connected or
                         associated
14
15                •      Not sure/ don't know

16         24.    In paragraph 32 of this report, Mr. Wallace attempted to justify use of the
17   Squirt methodology on the ground that both parties sell their products on the Internet
18   and so it is conceivable that a consumer would have two web browsers open
19   simultaneously, with each browser showing one of the two marks at issue, and
20   because of one alleged instance in which where the parties’ respective products were
21   displayed on the same page on eBay14:
22
                  If a consumer shopping for skin care products online had
23                two web browser tabs open, which is a common experience,
24                they could engage both products in question adjacent to one
                  another, which qualifies this case to use the Squirt
25                methodology. In addition, if consumers were shopping on
26
     14
        My understanding is that the only authorized seller of TCI skincare products online
27   is thrivecausemetics.com (i.e., TCI does not authorize sales of its products through
     eBay), and that Plaintiff testified at its deposition that it does not make any authorized
28   sales of its products on eBay.
                                                -11-
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 1                Ebay, they could encounter both products in question
 2                adjacent to one another, as illustrated in the image following
                  paragraph 29 of this report.
 3
           25.    Thus, Mr. Wallace’s primary “justification” for his choice of survey
 4
     methodology was a speculative scenario in which a consumer would not be satisfied
 5
     with just one browser and instead would open two browsers that just happen to
 6
     display the two products. Mr. Wallace’s scenario, however, is highly unlikely, and he
 7
     presented no evidence in his report that such a scenario has ever occurred (much less
 8
     that it occurs with appreciable frequency). This pure conjecture is the basis for Mr.
 9
     Wallace’s conclusion that over half of all of the Plaintiff’s customers confuse it with
10
     Thrive Causemetics.
11
           26.    As for the eBay search result also relied upon by Mr. Wallace, it is
12
     noteworthy that it appears the result was obtained by searching “Thrive moisturizer.”
13
     Mr. Wallace cites no evidence in his report that a consumer has ever utilized this
14
     specific search term on eBay to look for the parties’ products, or that such a scenario
15
     occurs with any appreciable frequency.
16
           27.    Additionally, the mere fact that two products are mentioned or sold on
17
     the Internet is irrelevant to the selection of survey methodology, unless the two
18
     products are often seen together in the same online stores, and in this case, the parties
19
     do not sell their products in the same online stores. Mr. Wallace’s survey design was
20
     thus premised on unlikely scenarios for which he cites no evidence in support of their
21
     occurrence or the extent or frequency of any such occurrence. The design of the
22
     Wallace Surveys is not representative of any marketplace conditions relevant to this
23
     case, as there is no evidence supporting that the scenarios on which the surveys were
24
     based actually occur with frequency in the marketplace.
25
           28.    As indicated, the likelihood that consumers would just happen to have
26
     two web browsers open simultaneously, showing the particular product images chosen
27
     for the Wallace Surveys, is extremely unlikely. Needless to say, there are numerous
28

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 1   websites on the Internet, and the likelihood of seeing these two simultaneously is
 2   negligible and has nothing to do with likelihood of confusion in reality. Mr. Wallace
 3   fails to explain how a consumer would happen to land on the images chosen for the
 4   Wallace Surveys and how such a scenario would replicate a typical consumer’s
 5   shopping and purchasing experience. Indeed, if one were to credit Mr. Wallace’s
 6   claim that such a scenario is likely to happen and can therefore justify relying on his
 7   methodology for assessing likelihood of confusion, then virtually all likelihood of
 8   confusion surveys would have relied on this method. However, while the sequential
 9   presentation method has been used in a few cases, for example, where the two
10   products were sold in the same stores, I am not aware of any court that has ever
11   accepted the method used in this case by Mr. Wallace in a comparable matter. The
12   surveys from other cases described herein that were excluded for being unrealistic and
13   leading, 15 were far less biased and leading than the surveys used by Mr. Wallace in
14   this case.
15         29.    As I have explained, the objective of a survey is to estimate marketplace
16   confusion. If a survey’s methodology is based on highly unlikely scenarios for which
17   there is no evidentiary support, it simply cannot reliably measure any likelihood of
18   confusion that is relevant to the marketplace at issue. The Wallace Surveys’
19   methodology premised on unlikely and factually unsupported scenarios is a fatal flaw
20   that makes the surveys unreliable and uninformative, and their findings meaningless.
21         30.    I understand that during his deposition (which was conducted after my
22   report was served) and in response to my report, Mr. Wallace defended his survey
23   format by claiming that links to both parties’ websites appear “adjacent” to each other
24   in Google and other search engine results for specific search terms. Even if true (and
25   again, Mr. Wallace’s reports and surveys do not include evidence of consumers – as
26
     15
       Simon Property Group L.P. v. MySimon, Inc., 104 F. Supp. 2d 1033 (S.D. Ind.
27   2000); Kargo Global, Inc. v. Advance Magazine Publrs., Inc., 2007 U.S. Dist. LEXIS
     57320 (S.D.N.Y. Aug. 6, 2007); see also THOIP v. Walt Disney Co., 690 F. Supp. 2d
28   218 (S.D.N.Y. 2010).
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 1   opposed to Mr. Wallace, Plaintiff, and Plaintiff’s lawyers – actually conducting these
 2   specific searches), a consumer would be directed to the parties’ respective websites to
 3   actually purchase any products, where the other party’s products would not appear.
 4         31.    Moreover, Mr. Wallace has presented no evidence as to the frequency
 5   with which such online searches occur or result in consumers connecting to either
 6   party’s website (or that either event occurs with appreciable frequency), and he still
 7   fails to account for the fact that the locations in which the parties actually sell their
 8   respective products are completely distinct. I understand that Plaintiff sells its
 9   products online through its website thrivecare.co, and through third-party websites
10   Amazon.com and Walmart.com, and at certain brick-and-mortar Whole Foods
11   locations, and that Thrive Causemetics does not sell its products at any of these
12   locations but instead sells its products exclusively through its website
13   thrivecausemetics.com. Mr. Wallace and his surveys do not even attempt to account
14   for these marketplace realities.
15         32.    In addition, even if Mr. Wallace had established that consumers conduct
16   the particular Internet searches referenced by Mr. Wallace with appreciable frequency,
17   he did not test for confusion based on those search results. That is, he did not display
18   the allegedly offending search results to respondents as the stimuli for his survey, and
19   thus did not test whether consumers encountering those images are likely to be
20   confused. Instead, the sole images displayed to respondents were the parties’ products
21   as they appear on the parties’ actual respective websites, shown in sequence. In other
22   words, there is a fundamental and fatal disconnect between alleged “marketplace
23   conditions” that Mr. Wallace asserts are illustrated by the Internet search results and
24   the (non-existent) “marketplace conditions” utilized in the Wallace Surveys.
25         33.    The Wallace Surveys were further removed from the marketplace reality
26   at issue because they created 100% awareness of both marks. For reverse confusion
27   to occur in reality (as Plaintiff has alleged in this case), a consumer must at least be
28   aware of Thrive Causemetics’ mark (a consumer who has never seen or heard of

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 1   Thrive Causemetics’ mark cannot confuse the Plaintiff’s mark with Thrive
 2   Causemetics). The Wallace Surveys avoided this condition by artificially creating
 3   awareness of both parties marks, and then depicting them side-by-side. Thus, even if
 4   in reality most consumers are unaware of these brands and therefore cannot confuse
 5   the two when making a purchase, the Wallace Surveys’ respondents were all made
 6   aware of both parties’ marks and could not avoid seeing them side-by-side. This is
 7   one of the reasons as to why the Eveready format, in which consumers are not
 8   artificially exposed to both parties’ marks, was the proper and only viable method in
 9   the present case.
10         34.    In addition to the flawed survey methodology that failed to replicate the
11   marketplace conditions at issue in this case, the Wallace Surveys suffered from
12   additional flaws that also undermine their reliability.
13         35.    As Professor McCarthy points out, 16 survey questions (and other
14   information presented to respondents) must not be slanted or leading, and it is
15   improper to suggest a business relationship when the respondent might previously
16   have had no thought of such a connection. For example, the question: “Do you think
17   that there may or may not be a business connection between Beneficial Corp. and the
18   Beneficial Finance System Companies?” was rejected as a leading question.17 In
19   other words, a survey must be carefully designed to exclude leading questions that
20   may impermissibly skew the survey results.
21         36.    As I teach my students in courses that deal with consumer research, when
22   designing a survey, the researcher also must avoid “demand effects.” Demand
23   effects 18 relate to the phenomenon whereby survey respondents use cues provided by
24   16
        See McCarthy at §32:172.
     17
        Beneficial Corp. v. Beneficial Capital Corp., 529 F. Supp. 445, 213 U.S.P.Q. 1091
25   (S.D.N.Y.   1982).
     18
        See, e.g., “On the Social Psychology of the Psychological Experiment,” M. Orne,
26   American Psychologist, 17, 776-783. For a review of the impact of demand effects in
     likelihood of confusion surveys, see Itamar Simonson and Ran Kivetz (2012),
27   “Demand Effects in Likelihood of Confusion Surveys: The Importance of
     Marketplace Conditions,” Ch. 11 in Trademark and False Advertising Surveys, Edited
28   by Shari Diamond and Jerre Swann, American Bar Association.
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 1   the survey procedure and questions to figure out the purpose of the survey and what
 2   they imagine to be the “correct” answers to the questions they are asked. The
 3   respondents then tend to provide what they perceive as the “correct” answers, to make
 4   sure that the results “come out right.” Demand effects can pollute the results of a
 5   survey dramatically. I understand that courts have also recognized the significance of
 6   demand effects, and such problems have contributed to the rejection of surveys. 19
 7   Yet, the Wallace Surveys suffer from this well-known methodological flaw.
 8         37.    The chapter I coauthored regarding demand effects in likelihood of
 9   confusion surveys, which was published by the ABA, reviewed a number of surveys
10   that were excluded and/or harshly criticized by courts because they suffered from
11   demand effects and relied on leading questions. If consumers in the marketplace are
12   unlikely to encounter the parties’ respective products for purchase one immediately
13   after the other, the survey should not rely on a sequential presentation, and,
14   importantly, the questions should not suggest to respondents that the two marks might
15   be related. Instead, in such situations, the Eveready methodology is the obvious,
16   correct way to estimate likelihood of confusion.
17         38.    One of the cases discussed in my chapter regarding flawed surveys that
18   suffered from severe demand effects was Leelanau Wine Cellars v. Black &Red, Inc.
19   case,20 which involved two wineries. The survey submitted by the plaintiff’s expert
20   sequentially presented products of the two wineries, even though their respective
21   wines were sold through different stores. As the Court pointed out:
22                … The survey in this case was conducted in a manner that
23                was substantially at odds with the circumstances under
                  which most consumers encounter Defendants’ wine. As
24                noted above, Defendants’ wine is sold through Defendants’
25                tasting rooms and website, which offer only one brand of
26
     19
        See, e.g., Simon Property Group L.P. v. MySimon, Inc., 104 F. Supp. 2d 1033 (S.D.
27   Ind. 2000).
     20
        452 F. Supp. 2d 772, *784; 2006 (U.S. West. Dist. of Mich., South. Div.), LEXIS
28   63774.
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 1               wine – Chateau de Leelanau. That is, actual purchasers
 2               would not be presented with a situation where Defendants’
                 wine is displayed side-by-side with other wines, and they
 3               would be purchasing from a location identified expressly
 4               and exclusively with Chateau de Leelanau. See Juicy
                 Couture, Inc. v. L’Oreal USA, Inc.21 (“Most significantly,
 5               the survey did not replicate the marketplace conditions in
 6               which consumers encounter Lancome’s products.
                 Lancome’s cosmetics are sold at Lancome counters or
 7               department store sections, or over websites, with prominent
 8               signage identifying Lancome as the seller, and the product
                 as Lancome products”). Moreover, there is no indication
 9               that in the actual marketplace, purchasers of Chateau de
10               Leelanau wine are ever exposed to LWC’s advertising
                 shortly before they view or purchase Chateau de Leelanau
11               wine. Thus, the survey, in which participants were shown
12               LWC’s advertisement and then asked whether they believed
                 that any of the five wines, including one including the word
13               ‘Leelanau’ in its name, were the same or came from the
14               same source as the wine in the advertisement, was ‘little
                 more than a memory test, testing the ability of the
15               participants to remember the name []of the [wine they had
16               been shown.’22
17               …
18               In the present case, the entire survey was suggestive.
19               Participants were first shown LWC’s advertisement and then
                 asked whether they believed that any of the wines in the
20               display, only one of which, the Defendants’ product,
21               contained the word Leelanau on it, was the same as or came
                 from the same winery as the winery that puts out the wine in
22               the advertisement. These circumstances not only suggested
23               that participants should find a connection between the wine
                 in the display and some other product, but specifically
24               LWC’s wine. 23
25
26
     21
        2006, U.S. Dist. LEXIS 20787, No. 04 Civ 7203(DLC), 2006 WL 1012939, at 25
27   (S.D.N.Y   Apr. 19, 2006).
     22
        Starter Corp. v. Converse, Inc. 170 F.3d 286, 297 (2d Cir. 1997).
28   23
        See Powerhouse Marks, 2006 U.S. Dist. LEXIS 61, 2006 WL 20523 at *6.
                                             -17-
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 1   As this Court opinion illustrates, the relevant question for assessing the validity and
 2   reliability of a survey is largely determined by the degree to which the survey’s
 3   setup/procedure and the questions asked suggest the “correct answer,” deviate from
 4   marketplace conditions, and create demand effects that produce predictable results. 24
 5   Whether or not the goods at issue belong to the same general category is less
 6   important.
 7         39.    The Wallace Surveys suffered from demand effects that fatally
 8   undermine their reliability. Completely ignoring the relevant marketplace reality at
 9   issue and basic survey principles, the Wallace Surveys presented survey respondents
10   with four names, two of which had a word in common (i.e., Plaintiff’s and Thrive
11   Causemetics) and the other two names were completely dissimilar. Respondents were
12   asked questions that left little doubt that there was a “correct” answer, with the only
13   obvious, correct “solution” being the two names that had a word in common, namely,
14   the term “thrive.” Thus, unless a respondent was not paying attention or was willing
15   to resist the pressure to provide the expected answer, there was no doubt that most
16   respondents could figure out what they were expected to choose as their answer, and
17   then go on and explain their “choice” based on the shared name element.
18         40.    If Mr. Wallace merely wanted to prove that the two marks at issue share
19   the “Thrive” name element, no survey was needed. He could simply present the two
20   names and point to the word “Thrive” in both. That is, the Wallace Surveys were
21   merely a trivial matching game that could not and did not provide any information
22   relevant to the likelihood of confusion. All the Wallace Surveys showed was that
23   most respondents can point to a shared name element when presented with the four
24   names, which is simply irrelevant to the issue of whether consumers are likely to be
25   24
       Similar issues were discussed, for example, in THOIP v. The Walt Disney Co. et al.,
     OPINION AND ORDER, (08 Civ. 6823; S.D. NY; Feb. 2010); Kargo Global, Inc. v.
26   Advance Magazine Publishers, Inc., “Opinion & Order,” 06 Civ. 550 (U.S. S.D.N.Y.;
     Aug. 2007), * 20; Simon Property Group L.P. v. MySimon, Inc., 104 F. Supp. 2d
27   1033; 2000, U.S. Dist. S.D. Indiana. In both the Kargo and MySimon cases, I
     conducted a survey on behalf of the defendant and evaluated a survey performed by
28   the other side’s expert.
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 1   confused between Plaintiff and Thrive Causmetics’ respective marks.
 2         41.    Furthermore, the Wallace Surveys relied on blatantly suggestive
 3   questions, which left no doubt as to the expected answer. For example, the first
 4   question was:
 5                Do you believe that these two products come from the same
 6                company/manufacturer/source?
 7   The suggestive nature of this question is self-evident as it immediately conveys to
 8   participants that they should ascertain a connection between the two products, and the
 9   possibility that the two products do not come from the same company was not even
10   mentioned in the question. This demand effect, which left no doubt as to the
11   “expected” answer, is much more extreme than the demand effects that led to the
12   exclusion and/or harsh court criticism of the other surveys I have referenced herein.
13   With such a biased question, the only surprise is that only about half of the Wallace
14   Survey respondents gave the “correct answer.” Without repeating this obvious fatal
15   flaw, the exact same bias made the subsequent questions in the Wallace Surveys
16   meaningless and unreliable.
17         42.    The Wallace Surveys also lacked any real control, which made the results
18   unreliable because failure to include a proper control will inflate the resulting net
19   estimate of confusion. The controls used by Mr. Wallace were completely dissimilar
20   from Thrive Causemetics’ mark, and thus were not real controls at all.
21         43.    In general, a survey designed to estimate likelihood of confusion must
22   include a proper “control.”25 A control is designed to estimate the degree of “bias,”
23   “noise” or “error” in the survey. Indeed, without a proper control, there is no
24   benchmark for determining whether a likelihood of confusion estimate is significant
25   or merely reflects the flaws and biases of the survey methodology and guessing, and is
26   thus uninformative regarding the alleged confusion at issue.
27
     25
       See, e.g., S. Diamond, Reference Guide on Survey Research, in Reference Manual
28   on Scientific Evidence 221, 226 n.8 (Federal Judicial Center ed., 1994).
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 1         44.    Importantly, the impact of a control in a likelihood of confusion survey is
 2   very different depending on whether the survey is conducted on behalf of the party
 3   alleging confusion as opposed to a survey conducted on behalf of the party claiming
 4   lack of confusion. Specifically, a control in a likelihood of confusion survey can only
 5   lower (or keep unchanged) the obtained net (i.e., final) confusion estimate – it can
 6   never raise the observed (net) confusion rate. The reason is quite simple – because the
 7   confusion estimate in the control group is subtracted from the confusion number
 8   measured in the Test group, the control can only lower the net (i.e., Test minus
 9   Control) estimate. Accordingly, a dissimilar control (i.e., as compared with the
10   allegedly infringing mark) that produces an artificially low “confusion” number can
11   only “help” the party alleging confusion (the Plaintiff), because the net estimate
12   derived after subtracting the control is likely to be too high. By contrast, if a
13   dissimilar control is used by the party claiming that there is no confusion (i.e., the
14   defendant), it cannot “help” the defendant, but it may “support” the plaintiff’s claim
15   (assuming the confusion estimate obtained in the Test group is greater than zero).
16         45.    Thus, when the plaintiff’s survey expert selects a control, the control
17   must be as similar as possible to the “junior” (allegedly infringing) mark, without
18   infringing on the “senior” mark. For example, the Court’s evaluation of the plaintiff’s
19   survey in a case involving Simon Property Group and mySimon, Inc., it was
20   determined that any likelihood of confusion survey with a control that does not
21   include the “Simon” name component (which is commonly used and is not the
22   property of just one company) “amounts to little more than a meaningless word
23   association or memory exercise.”26
24         46.    As explained above, to fulfill its essential function, a (real) control must
25   be similar to the allegedly infringing mark, without itself infringing. As Professor
26   Diamond pointed out in her highly cited Reference Guide on Survey Research chapter:
27   26
       Simon Property Group L.P. v. MySimon, Inc., 104 F. Supp. 2d 1033 (S.D. Ind.
     2000). Consistent with the Court’s opinion, the (Eveready) survey that I conducted in
28   that case used the control name “Simonson.com.”
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 1   27


 2                In designing a survey-experiment, the expert should select a
 3                stimulus for the control group that shares as many
                  characteristics with the experimental stimulus as possible,
 4                with the key exception of the characteristic whose influence
 5                is being assessed.
 6         47.    In contrast to Professor Diamond’s guidance, the “controls” used in the
 7   Wallace Surveys were “WLDKAT” and “Ursa Major.” These names have nothing in
 8   common with the marks at issue, so they were not controls at all. This was yet
 9   another fatal flaw of the survey, which means that, by itself, it made the entire survey
10   unreliable, producing a high net “confusion” number that has nothing to do with
11   marketplace confusion. The Wallace Surveys’ failure to include a proper control
12   ensured that respondents merely needed to recognize that the Plaintiff’s name and
13   Thrive Causemetics’ name share a common word, and again, this matching exercise
14   has nothing to do with measuring any real-world likelihood of confusion.
15         48.    Mr. Wallace supplemented the Wallace Surveys with an exercise in
16   which the surveys’ respondents were told to assume that they saw two Instagram posts
17   with the same hashtag one after the other and asked if the two posts came from the
18   same company. For the reasons explained below, this contrived exercise offered no
19   information relevant to the issue of likelihood of confusion.
20         49.    The Wallace Surveys respondents were given a “scenario” whereby they
21   were researching skin care products and just noticed two posts (that they happened to
22   encounter one after the other) on Instagram showing a skin moisturizer with the
23   hashtag #THRIVETRIBE. Respondents were then asked:
24                Based on these posts, do you believe that they refer to the
25                same products and come from the same company or
                  companies that are affiliated, connected or associated with
26                one another - or from different companies that are not
27
     27
       Shari Seidman Diamond, Reference Guide on Survey Research, Reference Manual
28   on Scientific Evidence 399 (Fed. Jud. Ctr. 3d ed. 2011).
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 1                 affiliated, connected, or associated?
 2
            50.    This #THRIVETRIBE Instagram scenario was detached from reality and
 3
     blatantly leading. Mr. Wallace failed to even attempt to replicate any such event in
 4
     his surveys, as his surveys showed consumers only images of the parties’ respective
 5
     point-of-sale websites. Instead, the Wallace Surveys attempted to merely describe the
 6
     scenario to respondents. Furthermore, Mr. Wallace has presented no evidence that
 7
     such an event has ever happened to any consumer or that it happens with any
 8
     appreciable frequency. That this exercise is part of the basis of Mr. Wallace’s
 9
     “conclusion” that over half of all consumers are confused between the two marks
10
     renders Mr. Wallace’s conclusion devoid of factual support and completely unreliable.
11
     There was absolutely nothing scientific about asking respondents to imagine a
12
     scenario that is not replicated in the survey as a means of trying to measure the
13
     likelihood of confusion.
14
            51.    In light of the above fatal flaws and biases, the Wallace Surveys’ findings
15
     concerning the net confusion rate were predetermined by the flaws, and therefore are
16
     not probative of the issue of likelihood of confusion.
17
            52.    Each of the above flaws, by itself, makes the Wallace Surveys unreliable;
18
     the combination of these flaws establishes that the Wallace Surveys provide no
19
     relevant information about marketplace likelihood of confusion in this case. The
20
     Wallace Surveys merely show that the survey respondents are capable of recognizing
21
     that two names share a common word.
22
            53.    My second opinion is that Mr. Wallace’s opinions concerning the
23
     ultimate issue of likelihood of confusion and various Sleekcraft factors are neither
24
     reliable nor scientific.
25
            54.    In his reports, Mr. Wallace opines on the likelihood of confusion based
26
     on his personal and subjective, non-scientific assessment of the Sleekcraft factors; Mr.
27
     Wallace has not studied or ever published a scientific, peer-reviewed article about
28

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 1   consumer psychology, consumer decision making, or the psychological factors that
 2   underlie consumer confusion. Mr. Wallace’s Sleekcraft analysis thus does not provide
 3   any information meaningful to this case.
 4          55.    For example, in paragraph 9 of his report, and without presenting any
 5   evidence, Mr. Wallace “decided” the following:
 6                 This includes a likelihood of forward confusion, in which
 7                 consumers believe the Defendant’s products originate from
                   or are affiliated with the Plaintiff, as well as reverse
 8                 confusion, in which consumers believe the Plaintiff’s
 9                 products originate from or are affiliated with the Defendant.
10
     For the reasons previously explained as to the significant flaws in the Wallace Surveys
11
     that provide no reliable information concerning likelihood of confusion in this case,
12
     Mr. Wallace’s conclusion is unsupported and unsupportable as Mr. Wallace has not
13
     presented any reliable, scientific evidence supporting it. Furthermore, the survey that
14
     I conducted, which I discuss next, followed all accepted scientific principles for
15
     estimating likelihood of confusion, and provides reliable evidence that there is no
16
     meaningful confusion whatsoever between the parties’ respective products and marks.
17
            56.    Mr. Wallace also provides his unscientific assessment of specific
18
     Sleekcraft factors, including the strength of Plaintiff’s mark and the degree of
19
     consumer care exercised by purchasers of skin care products. Mr. Wallace claimed
20
     that the Plaintiff’s mark must be strong because the Plaintiff has sent cease-and-desist
21
     letters to other companies that have “Thrive” in their names. He also claimed that
22
     skincare products involve a low degree of care, as if people’s appearance and the
23
     products they apply to their bodies are not important to them, so they purchase them
24
     without thinking much about the choices they make. Neither of these assessments is
25
     reliable, scientific, or correct.
26
            57.    In paragraph 85 of his report, Mr. Wallace suggests that the Plaintiff’s
27
     mark is strong and relies on the fact that the Plaintiff recently sent cease-and-desist
28

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 1   letters to third parties who were utilizing or planning to utilize the term “thrive” in
 2   connection with their businesses. Having studied, published about, and taught about
 3   the factors that make brand names strong and distinctive, I have never before
 4   encountered a claim that sending cease-and-desist letters proves that a brand name is
 5   strong. Mr. Wallace’s opinion has no academic basis from either a marketing or
 6   branding perspective. In fact, based on basic consumer behavior and marketing
 7   principles that I have taught at the Stanford Graduate School of Business, the word
 8   “thrive” is likely to be a weak brand name, for multiple reasons.
 9         58.     “Thrive” is a word that can be and is associated with numerous different
10   domains, products, self-improvement, services, and various other things. Not
11   surprisingly, the word “Thrive” has been included, for example, in the names of a
12   wide range of products by different companies and organizations. Trial Exhibit Nos.
13   364 through 371 and Trial Exhibit Nos. 424 through 451 are true and correct copies of
14   publicly available United States Patent and Trademark Office search results and
15   records and third-party websites reflecting use of the term “thrive” by third parties,
16   including in connection with skin care and other personal care goods. Trial Exhibit
17   No. 351 is a true and correct copy of the Collins English Dictionary definition of the
18   term “thrive,” which includes to prosper, improve, or flourish. I understand that
19   Plaintiff intends for its products to help consumers’ skin be healthier, and for its
20   sustainable business model to support the Costa Rican farmers who supply certain of
21   the product ingredients and the environment– or to otherwise help consumers’ skin,
22   the Costa Rican farmers, and the environment to “thrive” – all within the meaning of
23   the term’s ordinary dictionary definition, which also suggests that the mark is
24   conceptually weak.
25         59.    With such a commonly used word, unless the company supplements it
26   with one or more other words or coined terms that are more unique and meaningful
27   (such as “Causemetics”), it is highly unlikely to stand out or create a memory trace.
28   This conclusion is particularly true for a company like Plaintiff that, despite operating

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 1   for several years, has not been able to build wide recognition and a unique brand
 2   identity.
 3         60.    Mr. Wallace also suggests that purchasing skincare products involves a
 4   low degree of care. With no evidentiary basis and contrary to basic principles of
 5   consumer decision making, 28 he suggests that people’s appearance and products they
 6   apply to their bodies are not important to them, so consumers purchase them without
 7   thinking much about the choices they make. Consistent with principles of consumer
 8   decision making, and contrary to Mr. Wallace’s assessment, a number of courts
 9   specifically pointed out that purchasers of skin care products tend to exercise a high
10   degree of care. For example, as one court stated: 29
11                Courts have previously recognized, however, that purchasers
12                of fragrances and skin care products tend to exercise a high
                  degree of care and brand consciousness. See Lucien Lelong,
13                Inc. v. Lenel, Inc., 181 F.2d 3, 4 (5th Cir.1950) (“The
14                pronunciation of these names might bring about a sounding
                  of similarity; but buyers of [cologne] are meticulous and do
15                not depend solely on pronunciation”).
16
           61.    For these reasons, Mr. Wallace’s personal and unscientific opinions
17
     concerning the ultimate issue of likelihood of confusion and his flawed assessment of
18
     various Sleekcraft factors provide no reliable or meaningful information to whether
19
     confusion is likely in this case.
20
           62.    My third opinion is that a properly designed survey demonstrates that
21
     there is no confusion regarding the source, affiliation, or approval of Plaintiff’s
22
     products.
23
           63.    A properly designed likelihood of confusion survey in this case would (1)
24
     take into account the pertinent marketplace conditions; (2) focus on reverse confusion;
25
     and (3) employ the “gold standard” Eveready methodology.
26
27   28
        See, e.g., G. Laurent and J. Kapferer (1985), “Measuring Consumer Involvement
     Profiles,” Journal of Marketing Research, 21, 41-53.
28   29
        Glow Industries, Inc. v. Lopez, 252 F.Supp.2d 962, 1001 (2002).
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 1         64.    Reverse confusion is the proper focus here given Thrive Causemetics’
 2   significantly greater commercial success and Plaintiff’s allegation that Thrive
 3   Causemetics’ has “flood[ed] the market with advertising,” allegedly leading
 4   consumers to believe Plaintiff is related to Thrive Causemetics.
 5         65.    Using the Eveready methodology, respondents are shown the senior mark
 6   and are asked about its source and its possible business affiliation and approval.
 7   Report ¶ 26. The Eveready survey format is the appropriate methodology when the
 8   two products at issue are not actually sold side-by-side in the great majority of real-
 9   world situations, as is the case here, where Thrive Causemetics and Plaintiff do not
10   offer their respective products for sale on the same websites or at the same retail
11   locations.
12         66.    The survey that I designed to estimate the likelihood of reverse confusion
13   that Plaintiff has alleged corrected the fatal flaws of the Wallace Surveys that I
14   previously described. It followed the accepted standards and employed the proper
15   methodology. In particular:
16                a.     It approximated normal marketplace conditions by presenting the
17   Plaintiff’s mark without forcing respondents to also artificially consider Thrive
18   Causemetics’ mark, which represents the overwhelming majority of marketplace
19   conditions relevant to this case.
20                b.     It avoided the leading and biased questions of the Wallace
21   Surveys.
22                c.     It did not artificially produce 100% respondent awareness of both
23   marks at issue.
24                d.     It focused on reverse confusion.
25                e.     It followed other basic survey principles.
26         67.    As indicated, my survey employed the proper Eveready methodology for
27   estimating reverse confusion in cases where the two marks at issue are rarely
28   encountered by consumers at about the same time. Given the focus on reverse

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 1   confusion, the respondents were the Plaintiff’s prospective customers, who were
 2   shown the Plaintiff’s webpage with the products displayed on the home page.
 3         68.    The survey followed the accepted standards regarding the manner in
 4   which questions are asked, proper filters are used, response options are rotated,
 5   interviews are validated, and so on. The survey was administered via the Internet
 6   during June 2021. The universe of survey participants was 400 prospective
 7   purchasers of the Plaintiff’s products, who were randomly assigned to the Test group
 8   or the Control group. Survey participants were members of the Veridata Insights
 9   Internet survey panel. All survey respondents as well as the online research firm were
10   “blind” to the purpose of the survey and the identity of its sponsor. Similarly, those
11   who coded the respondents’ verbatim answers were “blind” to the purpose of the
12   study and the identity of its sponsor. More details regarding respondent screening, the
13   questions that were asked, the survey procedure, and the results are presented next. A
14   complete draft of the questionnaire (before programming) is included in Exhibit D to
15   my report. Trial Exhibit No. 435 is a true and correct copy of the stimuli shown to
16   respondents and the screenshots (as seen by respondents) of the Test (Cells 1 and 2)
17   and Control (Cells 3 and 4) groups of the entire questionnaire (which was also
18   included as Exhibits E1 and E2 to my report).
19         69.    All survey respondents expected to purchase skincare products on the
20   Internet within the subsequent six months. Other standard screening criteria were
21   applied. Respondents with potentially unrepresentative expertise or knowledge were
22   not allowed to participate. They included those working for (a) an advertising or
23   public relations agency, (b) a market research firm or a marketing research department
24   of a company, and (c) a company that makes or sells skincare products.
25         70.    At the beginning of the main part of the questionnaire, respondents were
26   given the following instruction:
27                “First, for each question, if you don’t know or don’t have an
28                answer, please don’t guess, just indicate that you “don’t

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 1                know” or “don’t have an answer” by typing in the words
 2                “don’t know” and it will go on to the next question. Also,
                  you should complete this survey without stopping in the
 3                middle, and please make sure not to consult anyone and not
 4                open another browser while working on this survey.”

 5         71.    Respondents were next told:
 6
                  Q260:
 7
                          Suppose that you are visiting the website shown
 8
                          below.
 9
                          Please review the webpage as you would if you were
10                        thinking of buying a product.
11
                          Please scroll down to view the entire webpage.
12
                          When you are finished viewing the webpage, click on
13                        the “NEXT” at the bottom of the screen to continue.
14
                          When you continue to the next screens, you will need
15                        to scroll to the bottom of each screen to answer some
                          questions.
16
17
           72.    Depending on whether respondents were randomly assigned to the Test
18
     group or the Control group, they were next shown the Plaintiff’s home page (the Test
19
     group) or the same webpage with the word “Energized” (Control group) replacing the
20
     word “Thrive” (see Trial Exhibit No. 453). As explained above, the survey
21
     conservatively used a dissimilar control, to make sure that the Plaintiff would not
22
     suggest that the control name was also infringing. The Test and Control group
23
     respondents were next asked the same questions:
24
                  Q270:
25
26                        Which company makes the products shown on this
                          webpage? (Record name of company on the line
27                        below).
28

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 1                 Q275/278:
 2
                           Why do you say that (INSERT) makes the products
 3                         shown on this webpage? Please type your answer
                           below. Please be as specific as you can.
 4
 5                         Any other reason? Please type your answer below.
                           Please be as specific as you can.
 6
 7         73.     Following the standard Eveready methodology format, respondents were
 8   next asked:
 9
                   Q280:
10
                           Does or doesn’t the company that makes the products
11                         shown on this webpage make any other products or
12                         brands? (Select one response)
13                         1: Yes, it does make other products or brands
14                         (CONTINUE WITH Q.285)

15                         2: No, it doesn’t make other products or brands (SKIP
                           TO Q.290)
16
17                         3: Don’t know/unsure (SKIP TO Q.290)

18                         [IF CHOSE “YES”]
19                 Q285:
20
                           What other products or brands are made by the
21                         company that makes the products shown on this
                           webpage?
22
23         74.     The standard Eveready survey protocol further examines the possibility
24   of confusion about business affiliation and permission. Accordingly, respondents (in
25   both the Test and Control) groups were next asked:
26
                   Q290:
27
                           Does or doesn’t the company that makes the products
28

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 1                       shown on this webpage have a business affiliation or
 2                       connection with another company or brand? (Select
                         one response)
 3
                         1: Yes, it does have a business affiliation or
 4
                         connection with another company/brand (CONTINUE
 5                       WITH Q.295)
 6                       2: No, it doesn’t have a business affiliation or
 7                       connection with another company/brand (SKIP TO
                         Q.300)
 8
                         3: Don’t know/unsure (SKIP TO Q.300)
 9
10               Q295:
11                       With which other company or brand does the
                         company that makes the products shown on this
12
                         webpage have a business affiliation or connection?
13                       (Record name of company/brand on the line below).
14                       Company/Brand
15                       ______________________________
16                       Don’t know/unsure (      ) (SKIP TO Q.300)
17               Q296:
18
                         What makes you say (INSERT COMPANY/BRAND
19                       MENTIONED IN Q.295) has a business affiliation or
20                       connection with the company that makes the products
                         shown on this webpage? Please type your answer
21                       below. Please be as specific as you can.
22               Q298:
23
                         Any other reason? Please type your answer below.
24                       Please be as specific as you can.
25               Q300:
26
                         Did or didn’t the company that makes the products
27                       shown on this webpage receive permission or
28                       approval from another company or brand? (Select one

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 1                       response)
 2
                         1: Yes, it did receive permission or approval
 3                       (CONTINUE WITH Q.305)
 4                       2: No, it didn’t receive permission or approval (SKIP
 5                       TO Q.310)

 6                       3: Don’t know/unsure (SKIP TO Q.310)
 7               Q305:
 8
                         Which other company or brand gave permission or
 9                       approval to the company that makes the products
                         shown on this webpage? (Record name of
10
                         company/brand on the line below).
11
                         Company/Brand
12                       __________________________________
13
                 Q306
14
                         What makes you say (INSERT COMPANY/BRAND
15                       MENTIONED IN Q.305) gave permission or
16                       approval to the company that makes the products
                         shown on this webpage? Please type your answer
17                       below. Please be as specific as you can.
18
                 Q308:
19
                         Any other reason? Please type your answer below.
20                       Please be as specific as you can.
21         75.   Given a theory of reverse confusion, in which Plaintiff has alleged that
22   Thrive Causemetics has flooded and swamped the market such that consumers are
23   likely to be confused between the parties, one would expect respondents to have
24   specific information about Thrive Causemetics’ mark, which presumably
25   “overwhelmed” the Plaintiff and the market. Accordingly, the final question provided
26   respondents the opportunity to provide any additional information they might have
27   had about the company they named as the one that offered the products shown on the
28

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 1   webpage.
 2         76.    Given the history of Thrive Causemetics and its pro-women cause, the
 3   following final question provided respondents, if they mistakenly believe that the
 4   Plaintiff is related to or is Thrive Causemetics, another opportunity to provide
 5   information that identifies Thrive Causemetics:
 6                Q310:
 7
                          You mentioned earlier that (INSERT COMPANY
 8                        MENTIONED IN Q.270) makes the products shown
 9                        on the webpage you saw. Please provide any
                          information you have about that company. Please type
10                        your answer below. Please be as specific as you can.
11                Q315:
12
                          Anything else you know about the company that
13                        makes the products shown on the webpage you saw?
14                        Please type your answer below. Please be as specific
                          as you can.
15
                          The survey’s findings are summarized next.
16
17
           77.    The findings of my survey were as follows. A total of 438 respondents
18
     completed the survey between June 16 and June 24, 2021. Consistent with standard
19
     practice, 14 respondents who took too long (an hour or more) or might not have spent
20
     enough time completing the survey (under three minutes) were removed from the
21
     sample (the data for these respondents are available). Thus, a total of 424 respondents
22
     are included in the summary tables (Exhibit F to my report), with approximately equal
23
     numbers of men and women. With respect to age, about half of the respondents were
24
     between 18 and 39 years old and the other half were 40 years old or older.
25
           78.    I will review the survey’s main findings (additional findings appear in
26
     Exhibits F and G of my report) and discuss their implications. The tabulated answers
27
     to closed-ended (including screening) questions and the (coded) open-ended question
28

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 1   are presented in Exhibit F to my report. The complete data set with all of the
 2   respondents’ closed-ended and open-ended answers are presented in Exhibits G (full
 3   data set) and H (replacing the open-ended answers with the assigned codes) to my
 4   report. Exhibit I to my report presents the codebook used by coders when coding
 5   verbal (open-ended) responses.
 6         79.    In general, an analysis of the statistical significance of the differences
 7   between the answers provided by respondents who view the Test or Control product is
 8   designed to measure whether these differences can be attributed to anything more than
 9   random chance. The results in Exhibit G to my report (and in numerous other
10   surveys) are mostly expressed in terms of proportions or percentages, such as “[x]% of
11   the respondents in the Control group indicated that the company makes other
12   products.” Accordingly, statistical tests of differences between the proportions
13   observed in two different groups (often pertaining to the contrast between the Test and
14   Control groups) are usually based on whether the magnitude of any difference in
15   group proportions reaches the level of statistical significance, typically at the 95%
16   confidence level. If a difference in proportions is found to be statistically insignificant
17   (at the 95% confidence level) it means that, if the same survey were to be replicated
18   100 times, 95 out of the 100 replication surveys would obtain results that are within
19   the “confidence interval” (or “margin of error”) of the survey being examined. 30
20   Thus, differences that are not statistically significant indicate that the factor/s or
21   variable/s on which the two groups differ (e.g., the displayed products) has no impact
22   on the dependent measure (such as the percent of respondents who provide a
23   30
        The confidence interval, in turn, depends on two primary factors: the sample sizes
     involved (such as the number of respondents in the Test and Control groups) and the
24   obtained proportions. In general, the closer the obtained proportion is to 50%, the
     larger the margin of error is. I the present survey, differences that are greater than
25   about 9.5% are statistically significant. Also, when the dependent measures are
     numbers (rather than percentages), such as ratings on a 0 to 10 scale, the formula for
26   testing statistical significance for differences between means is the following (“sd”
     refers to standard deviation, and “n” refers to the sample size for the group): 1.96 x
27   [square-root[(sd2/na) + (sd2/nb)]. Thus, whether a given difference is statistically
     significant depends greatly on the corresponding sample standard deviations as they
28   pertain to the specific scale ratings.
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 1   particular answer).
 2         80.    As shown in Table 5 of Exhibit F to my report, not surprisingly, most
 3   respondents in the Test group named Thrive Natural Care as the company that makes
 4   the products shown on the website and most respondents in the Control group named
 5   Energized. Most explanations provided by respondents (Table 6), not surprisingly,
 6   referred to the fact that the name appeared on the website and/or on the products (e.g.,
 7   “It’s on the top of the page”). One respondent mentioned the name “Bodnar,” which
 8   is the last name of Thrive Causemetics’ founder and CEO Karissa Bodnar.
 9         81.    A third of the respondents indicated that the same company makes other
10   products (Table 7), and two-third said that it did not make other products or they did
11   not know. Those who said that it did offer other products were asked to name the
12   products (Table 8). For the most part, respondents referred to products that were
13   displayed on the website, such as “energy scrub” and “face wash.” Only four
14   respondents in the Test group referred to cosmetics or cosmetic products (e.g.,
15   mascara). One respondent in the Control group mentioned cosmetics when answering
16   Question 310 regarding information the respondent had about the company that makes
17   the displayed product. Overall, mentions of cosmetics were negligible. It is also
18   noteworthy that not a single respondent referenced “Causemetics.”
19         82.    Close to 30% of the respondents said that the company that makes the
20   products has a business affiliation with another company (Table 9). When these
21   respondents were asked to name the company they were thinking about (Table 10),
22   Vogue was mentioned by about 10% of all respondents (the Plaintiff’s website
23   prominently displays a favorable review that appeared in Vogue).
24         83.    About 30% of the respondents said that the company that makes the
25   products offered on the website received permission or approval from another
26   company. When asked to name the company that gave permission, Vogue was again
27   the most common response.
28         84.    Finally, respondents were asked if they had any other information about

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 1   the company that makes the products (Table 15). This question provided respondents,
 2   if they were confused, to mention that unique background. However, none of the
 3   respondents did, consistent with the overall survey findings indicating that there is no
 4   meaningful confusion between the Plaintiff and Thrive Causemetics.
 5         85.    As noted above, some survey respondents mentioned products or terms
 6   that are arguably indicative of Thrive Causemetics in their responses, although it is not
 7   possible to ascertain the precise understanding of the respondent in most such
 8   instances. For example, in response to Q.285 “What other products or brands are
 9   made by the company that makes the products shown on this webpage?,” four
10   respondents in the Test Group mentioned eyeliner, mascara, or other make
11   up/cosmetics terms, and in response to Q.310/315 “You mentioned earlier that (insert
12   company mentioned in Q.270) makes the products shown on the webpage you saw.
13   Please provide any information you have about that company / anything else you
14   know about the company that makes the products shown on the webpage you saw?,”
15   some respondents in the Test group mentioned “They make sustainable makeup
16   products” or “beauty products” or “it is a company that is interested in cosmetic
17   products.” Additionally, in response to Q.270 “Which company makes the products
18   shown on this webpage?,” one respondent mentioned the name “Bodnar,” which is the
19   last name of Thrive Causemetics’ founder and CEO Karissa Bodnar. However, the
20   number of these mentions was so few relative to the survey population as a whole as
21   to not indicate a likelihood of confusion between the parties.
22         86.    Mr. Wallace submitted a reply to my rebuttal report in which he raised
23   several criticisms of my survey. None of these criticisms has any merit, nor do they
24   undermine the results of my survey that there is no meaningful confusion between
25   Plaintiff and Thrive Causemetics.
26         87.    First, Mr. Wallace challenged my use of the Eveready format for my
27   survey as inappropriate because he claims that I ignored that both parties sell their
28   products primarily online and that the parties’ respective products allegedly appear

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 1   side-by-side in online search engine results. As an initial matter, I did not ignore that
 2   both parties sell their products on the Internet. Indeed, my report expressly
 3   acknowledged that fact but explained that the mere fact that two products are
 4   mentioned or sold on the Internet is irrelevant to the selection of survey methodology
 5   unless the two products are often seen together in the same online stores. I found that
 6   fact irrelevant in this case because, as previously explained, the parties do not sell
 7   their products in the same online stores. Mr. Wallace suggests that the parties sell
 8   their products in the same online locations such as eBay and Amazon, but my
 9   understanding is that thrivecausemetics.com is the only location where Thrive
10   Causemetics sells its products and that any sales of Thrive Causemetics products on
11   third-party websites like eBay or Amazon are unauthorized resales.
12            88.   In this case in particular, the Eveready format replicated the actual
13   purchase conditions respecting the parties’ products. Plaintiff and Thrive Causemetics
14   do not sell their respective products on the same websites, and more specifically,
15   Thrive Causemetics’ products are not available for sale on Plaintiff’s website and vice
16   versa.
17            89.   Mr. Wallace does not address this fact, and claims that consumers can
18   allegedly view the parties’ products together in online search engine results and thus
19   the Eveready format is inappropriate. As previously explained, Mr. Wallace has not
20   presented any evidence that consumers have ever found the parties’ respective
21   products through the use of the specific search keywords that Mr. Wallace used to
22   generate the search engine results upon which he relies, or that such an event occurs
23   with any appreciable frequency, as is required to reliably measure any likelihood of
24   confusion.
25            90.   Mr. Wallace also did not test for any confusion stemming from online
26   search engine results or survey consumer behavior when using online search engine
27   results. The Wallace Surveys showed respondents the parties’ respective point-of-sale
28   websites and did not show respondents any online search engine results. Mr.

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 1   Wallace’s criticism of my survey design on these grounds therefore has no factual
 2   support.
 3         91.    Second, Mr. Wallace criticizes my survey because it focused on reverse
 4   confusion. I have reviewed the First Amended Complaint in this action, and as I
 5   mentioned above, the overwhelming focus of Plaintiff’s allegations (including its
 6   claim that Thrive Causemetics has overwhelmed and swamped the market and its
 7   descriptions of alleged actual confusion) reflect a reverse confusion claim.
 8         92.    In light of these allegations (and assuming Plaintiff has not now
 9   abandoned its reverse confusion claim), I appropriately designed my survey to test for
10   reverse confusion. The Eveready survey format has also been explicitly approved by
11   several courts for use in reverse confusion cases, so my survey methodology was both
12   appropriate in light of Plaintiff’s allegations and consistent with the case law.
13   Notably, while I do not believe the Wallace Surveys are probative of likely confusion
14   at all for the reasons described above, in all events they provide no information
15   regarding the direction of any confusion – because the parties’ respective products are
16   both shown to respondents, it is impossible to tell whether any response associating
17   the two is because of forward or reverse confusion.
18         93.    Third, Mr. Wallace claims that I ignored evidence of actual confusion in
19   my survey results. This is simply incorrect. As previously discussed, although some
20   survey respondents mentioned products or terms that are arguably indicative of Thrive
21   Causemetics in their responses, it is not possible to ascertain the precise understanding
22   of the respondent in most such instances. Furthermore, the number of those instances
23   in the Test group responses was so few in relation to the survey population as a whole
24   as to not be indicative of a likelihood of confusion. De minimis confusion does not
25   equate to a likelihood of confusion.
26         94.    Finally, Mr. Wallace claims that the universe selected for my survey was
27   inappropriate because the survey did not ask respondents a screening question
28   regarding whether they had purchased skincare products in the past, and thus my

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 1   survey failed to limit the universe to individuals who may have been exposed to
 2   Thrive Causemetics' mark in the past. This criticism is baseless. The universe for my
 3   survey consisted of individuals who planned to purchase skincare products within the
 4   next six months, which was entirely appropriate. I am unaware of any legal
 5   requirement or standard in consumer confusion surveys that requires survey
 6   respondents to have purchased the product at issue in the past and plan to purchase the
 7   product in the future. Mr. Wallace' s suggestion that I needed to evaluate consumer
 8   awareness of Thrive Causemetics' mark is also wrong. Scholarship in survey analysis
 9   and case law make clear that use of the Eveready format is appropriate regardless of
10   whether the tested mark is widely known. In other words, there is no requirement that
11   Thrive Causemetics' mark be "top-of-mind" for a person in order for that person to
12   appropriately participate in a likelihood of confusion survey. Mr. Wallace's rebuttal
13   report does not cite any legal or academic authority to the contrary.
14         95 .   For these reasons, none of Mr. Wallace's criticisms of my survey have
15   any merit. My properly-designed likelihood of confusion survey in this action
16   demonstrated that there is no meaningful confusion between Plaintiff and Thrive
17   Causemetics, that is, there is no meaningful confusion as to source, approval, or
18   affiliation between the parties.
19         I declare under penalty of perjury under the laws of the United States that the
20   above facts are true and correct, and that this declaration was executed thisl.i::_ day of
21   October 2021, in Burlingame, California.
22                                                     1-: ~
                                                   Dr. I t a m a ~
23
24
25
26
27
28
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